     Case 1:15-cr-00286-DAD-BAM Document 177 Filed 01/11/17 Page 1 of 3


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 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                                Case No.: 15-CR-00286 AWI-BAM
11                                                            (001)
                          Plaintiff,
12
           v.                                                 STIPULATION TO MODIFY
13                                                            CONDITIONS OF RELEASE FOR
     HAITHAM HABASH,                                          DEFENDANT HAITHAM HABASH;
14                                                            ORDER
15                        Defendant.

16

17
           Notice is hereby given that, subject to approval by the court, Haitham Habash
18

19   hereby stipulates, by and through his counsel Shaun Khojayan, and Assistant

20   United States Attorney Karen Escobar that conditions of release be modified in this
21
     manner:
22

23         Defendant Haitham Habash requests that the following conditions be

24   removed from his conditions of pre-trial release:
25
           The defendant shall: participate in the following Location Monitoring
26
27   component and abide by all the requirements of the program, which will include
28   use of a location monitoring system. You shall comply with all instructions for use
                                                              1.
                U.S. v Haitham Habash, Case #15-CR-0286-AWI        Stipulation to Modify Conditions of Release
     Case 1:15-cr-00286-DAD-BAM Document 177 Filed 01/11/17 Page 2 of 3


 1   and operation of said devices as given to you by the Pretrial Services Agency and
 2
     employees of the monitoring company. You shall pay all or part of the costs of the
 3

 4   program based upon your ability to pay as determined by the PSO. HOME

 5   DETENTION. You shall remain inside your residence at all times except for
 6
     employment; education; religious services; medical, substance abuse, or mental
 7

 8   health treatment; attorney visits; court appearances; court ordered obligations; or
 9   other activities pre-approved by the pretrial services officer.
10
           The following condition shall be added:
11

12         You shall participate in the following location monitoring program
13   component and abide by all the requirements of the program, which will include
14
     having a location monitoring unit installed in your residence and a radio frequency
15

16   transmitter device attached to your person. You shall comply with all instructions
17   for the use and operation of said devices as given to you by the Pretrial Services
18
     Agency and employees of the monitoring company. You shall pay all or part of the
19

20   costs of the program based upon your ability to pay, as determined by the pretrial
21
     services officer; CURFEW: You shall remain inside your residence every day from
22
     9:00 PM to 6:00 AM, or as adjusted by the pretrial services officer for medical,
23

24   religious services, employment or Court-ordered obligations.
25
           All other conditions of release are to remain in full force and effect.
26
27

28
     Case 1:15-cr-00286-DAD-BAM Document 177 Filed 01/11/17 Page 3 of 3


 1         The AUSA and pretrial services officer have no objection to this
 2
     modification.
 3

 4

 5   I consent to the above stipulation.
 6
     Date: January 11, 2017                     /s/ Karen Escobar (with permission)
 7                                              AUSA Karen Escobar
 8
     I consent to the above stipulation.
 9

10   Date: January 11, 2017                     /s/ Shaun Khojayan
                                                Shaun Khojayan
11                                              Attorney for Defendant Habash
12

13                                         ORDER
14
     The Stipulation to Modify conditions of release for defendant Haitham Habash is
15

16   hereby approved.
17

18
     IT IS SO ORDERED.
19

20      Dated:   January 11, 2017                  /s/ Barbara A. McAuliffe        _
                                              UNITED STATES MAGISTRATE JUDGE
21

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